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750-2074                                        RPV                                  #6191112

                          UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION

JACQUELINE JONES ,                                    )
INDEPENDENT ADMINISTRATOR                             )
of the ESTATE of TOYA D. FRAZIER,                     )
DECEDENT,                                             )
                                                      )
               Plaintiff,                             )
                                                      )
               v.                                     )      Court No.: 16 cv 02364
                                                      )
SERGEANT ARNOLD MATHEWS;                              )
CECILE KEMP, LPN; BETH NOVAK, RN ;                    )
and CORRECT CARE SOLUTIONS, LLC;                      )
CHAMPAIGN COUNTY, ILLINOIS                            )
                                                      )
               Defendants.                            )
                                                      )

   THE MEDICAL DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION FOR
                      SUMMARY JUDGMENT

       Defendants CECILE KEMP, BETH NOVAK and CORRECT CARE SOLUTIONS, LLC,

(referred to jointly as the Medical Defendants), through their attorneys, ROBERT P. VOGT and

VOGT & O’KANE, submit this reply in support of their Motion for Summary Judgment.

                             The Plaintiff’s Disputed Material Facts

       It is initially important to note that the plaintiff’s “B. Disputed Material Facts” responses

(pgs. 11-12) fail to comply with the Central District Local Rules in several respects.

       First, the Medical Defendants object to the plaintiff’s practice of including additional facts

in the plaintiff’s Responses to the Medical Defendants Undisputed Material Facts (See Sec. “B”

of the Plaintiff’s Response). It is improper for the nonmoving party to add additional facts to her

Local Rule 7.1 (D)(2) (b) response; any additional facts that the nonmoving party wishes to include



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belong in a separate statement. Ciomber v. Coop Plus, Inc., 527 F.3d 635, 643 (7th Cir. 2008);

Amands v. Aramack, 368 F.3d 809, 817 (7Th Cir. 2004). The plaintiff’s alleged additional facts set

forth in her responses to the Medical Defendants’ Undisputed Material Facts should be either

stricken, Amands, 368 F.3d at 817, or disregarded. De, 912 F. Supp. 2d 709, 715 (N.D. Ill. 2012).

       Second, the plaintiff’s Responses to Pars. 5, 8, 20, 22, 23, 24, 26, 32, 49 cite either no

evidence whatsoever or rely on inadmissible speculation or hearsay. This is improper as a mere

disagreement with the movant's asserted facts is inadequate if made without reference to specific

supporting material. Smith v. Lamz, 321 F.3d 680, 683 (78th Cir. 2003); Edward E. Gillen Co. v.

City of Lake Forest, 3 F.3d 192, 196 (7th Cir.1993). In addition, speculative assertions and hearsay

are improper under Rule 56. Borcky v. Maytag Corp., 248 F. 3d 691, 695 (7th Cir. 2001); Eisenstadt

v. Cental Corp., 112 F.3d 738, 742 (7th Cir. 1997).

       Third, and perhaps even more concerning, the plaintiff repeatedly asserts that Undisputed

Material Facts set forth by the Medical Defendants are “disputed” even though the factual support

for the Medical Defendants’ Undisputed Material Facts is the testimony of the plaintiff’s own

experts. See Plaintiff’s Responses in “B. Disputed Material Facts” for Pars. 10, 11, 12, 13, 16, 18,

19, 20, 22, 23, 24, 26, 32, 33, 35, 36, 38, 44, 47, 48. These efforts are disingenuous and should be

disregarded.

         The Medical Defendants Reply to the Plaintiff’s Additional Material Facts

       48.     Nurse Novak and Nurse Kemp negligently failed to follow the policies of their

employer. Kemp admitted under oath that she did not know the policies of her employer.

       REPLY:          The Medical Defendants dispute this allegation. There is no supporting
                       evidence cited by the plaintiff for this allegation. Factual allegations made
                       in connection with summary judgment must “be supported by evidentiary
                       documentation referenced by specific page.” Local Rule 7.1 (D)(2)
                       (b) (2), (5); See also Malec v. Sanford, 191 F.R.D. 581, 584 (N.D. Ill. 2000);
                       De v. City of Chicago, 912 F.Supp.2d 709, 712 (N.D. Ill. 2012). No witness


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                      has testified that the Nurse Defendants failed to follow any CCS “policy.”
                      In addition, no “policy” is identified by the plaintiff, so the Medical
                      Defendants do not know to what policy the plaintiff is referring. A
                      nonmoving party cannot rely on vague assertions in her response because
                      the moving party must be able to ascertain the allegations made by the
                      nonmoving party so that it may properly respond. De, 912 F.Supp.2d at
                      713; Greer v. Bd. Of Educ. Of City of Chi., Ill., 267 F.3d 723, 727 (7th Cir.
                      2001).


       49.     As stated supra, the nurses are responsible for improper documentation that does

not accurately reflect medication passes or assessment.

       REPLY:         The Medical Defendants dispute this allegation. There is no supporting
                      evidence cited by the plaintiff for this allegation. Factual allegations made
                      in connection with summary judgment must “be supported by evidentiary
                      documentation referenced by specific page.” Local Rule 7.1 (D)(2)
                      (b) (2), (5); See also De, 912 F.Supp.2d at 712; Malec, 191 F.R.D. at 584.
                      The plaintiff was administered hypertension medication (HCTZ) during the
                      afternoon of November 30, 2015, (Novak Aff., par. 7), and HCTZ and
                      Tylenol during the morning med pass on December 1, 2015. (Kemp Aff.,
                      par. 3). Ms. Frazier was also provided her first dose of heroin withdrawal
                      medications on December 1, 2015. (Novak Dep., par. 11). In addition, the
                      plaintiff does not identify what “improper documentation” she is referring
                      to or how or why that documentation is allegedly improper. A nonmoving
                      party cannot rely on vague assertions in her response because the moving
                      party must be able to ascertain the allegations made by the nonmoving party
                      so that it may properly respond. De, 912 F.Supp.2d at 713; Greer v. Bd. Of
                      Educ. Of City of Chi., Ill., 267 F.3d 723, 727 (7th Cir. 2001).

       50.     The policies of Correct Care Solutions were not followed by Nurse Novak and she

did not warn the correctional officers that Ms. Frazier required a second COWS assessment on

November 30, 2015. (Ex. 12 Feather Dep. p. 125 lines 8-17, pp. 129-131, p. 139, ln 13).

       REPLY:         The Medical Defendants dispute this allegation and Ms. Feather’s cited
                      testimony does not support the plaintiff’s allegation. Ms. Feather never
                      testified that the nurses were somehow required to tell the correctional
                      officers that the correctional officers needed to perform a COWS
                      assessment of Ms. Frazier during the overnight hours and CCS’ policies
                      also do not require Nurse Novak to do such a thing. In addition, no “policy”
                      is identified by the plaintiff, so the Medical Defendants do not know to what
                      policy the plaintiff is referring. A nonmoving party cannot rely on vague
                      assertions in her response because the moving party must be able to


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                      ascertain the allegations made by the nonmoving party so that it may
                      properly respond. De, 912 F.Supp.2d at 713; Greer v. Bd. Of Educ. Of City
                      of Chi., Ill., 267 F.3d 723, 727 (7th Cir. 2001).


        51.   When Ms. Frazier’s COWS score went from 0-7, Nurse Novak should have looked

deeper into her symptoms and their cause. If they had intervened at that time, her death may have

been prevented.

        REPLY:        The Medical Defendants dispute this allegation. There is no supporting
                      evidence cited by the plaintiff for this allegation. Factual allegations made
                      in connection with summary judgment must “be supported by evidentiary
                      documentation referenced by specific page.” Local Rule 7.1 (D)(2)
                      (b) (2), (5); See also De, 912 F.Supp.2d at 712; Malec, 191 F.R.D. at 584.
                      In addition, it is undisputed that in response to Ms. Frazier’s “mild”
                      withdrawal symptoms, Dr. Fatoki was contacted and the proper withdrawal
                      medications were ordered and provided to Ms. Frazier. (Feather Dep., pg.
                      76, 104; Novak Aff., par. 4). The plaintiff and the plaintiff’s nursing expert
                      admit that this was the appropriate response for Nurse Novak to take.
                      (Feather Dep., pg. 76). See also, Pl’s Response, par. 15.


        52.   The nurses should have checked for contraband. (Ex. 12 Feather Dep., pp. 166-

167).

        REPLY:        The Medical Defendants dispute this allegation as this is a gross
                      misstatement of Ms. Feather’s testimony. Ms. Feather was clear that nurses
                      in a jail setting do not search inmates. (Feather Dep., pg. 100). The
                      plaintiff’s correctional expert agrees. (Schwartz Dep., pg. 200). To be sure,
                      Ms. Feather conceded that her reference to nurses searching patients only
                      relates to an emergency room setting and that even in the emergency room,
                      99.9% of patients are not searched by the nursing staff. (Feather Dep., pg.
                      181).




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       53.     Ms. Frazier required another drug to soothe her withdrawals.            Withdrawal

medications were needed overnight to fight the severe withdrawal symptoms. Nurse Kemp should

have instructed correctional officers that Ms. Frazier should be looked after overnight to check for

withdrawal symptoms.      They also should have been told to repeat the COWS assessment

overnight. (Ex. 12 Feather Dep., pp. 89-90; Ex. 19 Policy #8-557).


       REPLY:          The Medical Defendants dispute these allegations. The first three
                       allegations cite no evidentiary support. Factual allegations made in
                       connection with summary judgment must “be supported by evidentiary
                       documentation referenced by specific page.” Local Rule 7.1 (D)(2)
                       (b) (2), (5); See also De, 912 F.Supp.2d at 712; Malec, 191 F.R.D. at 584.
                       In addition, the pages cited in Ms. Feather’s deposition as supporting the
                       fourth statement do not support the plaintiff’s allegation. Ms. Feather never
                       testified that the nurses were somehow required to tell the correctional
                       officers that the correctional officers needed to perform a COWS
                       assessment of Ms. Frazier.




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THE MEDICAL DEFENDANTS’ REPLY MEMORANDUM OF LAW IN SUPPORT OF
             THEIR MOTION FOR SUMMARY JUDGMENT

                                                  I.
                             Jail Nurses Do Not Search Incoming Inmates

        The plaintiff’s Response first asserts that Ms. Frazier was “negligently searched” by the

Nurse-Defendants. (Pl’s Resp., pg. 2).

        However, the plaintiff’s own expert, Ms. Feather, squarely testified that nurses do not

perform searches in a jail environment. (Feather Dep., pg. 100). The testimony of the plaintiff’s

correctional expert mirrored that of Ms. Feather: “I know of nowhere where nurses do searches,

that’s right.” (Schwartz Dep., pg. 200).

        Furthermore, none of the complaints that the plaintiff has filed with this Court allege that

the nurse-defendants had a duty to search newly arriving inmates.1

          Raising new claims for the first time in a response to a motion for summary judgment is

improper. Austin v. Schubnell, 116 F.3d 251, 255 (7th Cir. 1997); Ames v. Shaw, 2018 WL 6435656

(N.D.Ill. 2018) (holding that “Plaintiff cannot amend his theory of the case by way of his summary

judgment briefs; accordingly, this new theory of the case cannot defeat summary judgment”);

Savage v. Finney, 2012 WL 2374687, at *3 (N.D. Ill. 2012) (noting that “a brief cannot amend a

complaint and add new legal claims” and collecting cases).


                                            II.
              The Feather and Fowlkes Rule 26 Reports are Inadmissible Hearsay

        The plaintiff’s Response repeatedly cites to the Rule 26 Reports prepared by Ms. Feather

(Pl’s Resp., pgs. 10, 15, 19) and Dr. Fowlkes (Pl’s Resp., pgs. 11, 13, 15, 16, 28).


1
  This new accusation by the plaintiff was also never disclosed by Ms. Feather, the plaintiff’s nursing expert. None
of Ms. Feather’s reports suggest that the Nurse-Defendants were responsible for searching new inmates coming into
the Jail.

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       Federal District Courts sitting in Illinois have repeatedly recognized that Rule 26 expert

reports such as those prepared by Ms. Feather and Dr. Fowlkes are inadmissible hearsay. See, e.g.,

Ramirez v. City of Chicago, 2010 WL 4065615 (N;D; Ill. 2010); Thakore v. Universal Machine

Co. of Pottstown, Inc., 670 F.Supp.2d 705, 724–725 (N.D.Ill.2009) (expert reports under Rule 26

are not independently admissible); Gentieu v. Tony Stone Images/Chicago, Inc., 214 F.Supp.2d

849 (N.D.Ill.2002). The Seventh Circuit has also noted that expert reports are hearsay. Bucklew v.

Hawkins, Ash, Baotie & Co, 328 F.3d 923, 927 (7th Cir. 2003).

       Hearsay is just as inadmissible at summary judgment as it is at trial. Eisenstadt v. Centel

Corp., 113 F.3d 738, 742 (7th Cir. 1997). A party cannot rely on hearsay to support a summary

judgment response. Rogers v. City of Chi., 320 F.3d 748, 751 (7th Cir. 2003).

                                            III.
         The Plaintiff’s Allegations Regarding “Poor Record Keeping” Lack Merit
                 And Have No Casual Connection to Ms. Frazier’s Death

       The plaintiff also complains that “poor record keeping of the nurses violated the standard

of care.” (Pl’s Resp., pgs. 26-27). However, the testimony from the plaintiff’s own nursing expert

destroys the plaintiff’s claim. As Ms. Feather confirmed:

               Q:     And all of these documentation matters, by the way, you would agree – and
                      I think you have described them as nitpicky things, correct?

               A:     Yes.

               Q:     They had no impact on Ms. Frazier’s outcome, right?

               A:     Correct.

(Feather Dep., pg. 144).

       The plaintiff’s “poor record keeping” allegation is baseless and has no connection

whatsoever to Ms. Frazier’s death.




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                                                 IV.
                        Nurse Novak Had No Obligation to Tell the Correctional
                                Officers How to Perform Their Duties.

           The plaintiff repeatedly asserts that Nurse Novak failed to warn the correctional officers

that Ms. Frazier might go thru heroin withdrawal after Nurse Novak left the Jail on November 30,

2015. (Pl’s Resp., pgs. 24, 25, 26, 28, 29). There are several flaws with this assertion.

           First, no witness in this case, expert or otherwise, has testified that Nurse Novak had a duty

to tell the correctional staff how to perform their jobs. This is clearly an area requiring expert

testimony but, the plaintiff has none.

           Second, none of the plaintiff’s complaints filed with this Court state, suggest, or even imply

that Nurse Novak had a duty to tell the overnight correctional staff to be on the lookout for Ms.

Frazier’s withdrawal symptoms.2 Raising new claims for the first time in a response to a motion

for summary judgment is improper. Austin v. Schubnell, 116 F.3d 251, 255 (7th Cir. 1997); Ames

v. Shaw, 2018 WL 6435656 (N.D.Ill. 2018).

           Third, it is undisputed that when Nurse Novak performed her COWS assessment of Ms.

Frazier during the afternoon hours of November 30, 2015, Ms. Frazier scored a “0.” (Feather Dep.,

pg. 61; Nurses 0013; Novak Aff., par. 8). In fact, the parties agree that Ms. Frazier did not even

begin to suffer her heroin withdrawal abdominal complaints until about 2:00 a.m. on December 1,

2015 – some 9 hours after Nurse Novak left the Jail. (Pl’s Resp., par. 9). Thus, Nurse Novak could

not have warned the correctional officers about looking out for something that had not yet

occurred, and which Nurse Novak knew nothing about.

                                           V.
    Whether Ms. Frazier Overdosed on Diphenhydramine or Died from an Allergic Reaction
                            to Diphenhydramine is Immaterial



2
    This new allegation was also never disclosed in any of the Rule 26 Reports filed by Ms. Feather.

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         The parties agree that Ms. Frazier died from diphenhydramine toxicity. (Pl’s Resp., par.

21). The parties also agree:

                  The diphenhydramine that Ms. Frazier ingested came from the
                  medications that Ms. Frazier secretly smuggled into the Jail and
                  which she secretly ingested.

(Pl’s Resp., par. 27).

         In light of this undisputed evidence, whether Ms. Frazier’s death was due to an allergic

reaction or to an overdose makes no difference.3 To establish liability, the plaintiff must show that

the Nurse-Defendants had subjective knowledge that: (1) Ms. Frazier possessed contraband

medications containing diphenhydramine; and (2) Ms. Frazier was going to ingest those same

medications. Pettie v. Carter, 836 F.3d 722, 728 (7th Cir. 2016); Rice v. Correctional Medical

Services, 675 F.3d 650, 680-682 (7th Cir. 2012).

         Here, it is uncontested that the Nurse-Defendants had no subjective knowledge of what

Ms. Frazier was doing with her contraband medications and, as a result, the Nurse-Defendants

could do nothing to prevent that which they knew nothing about.

                                                VI.
                             CCS Remains Entitled to Summary Judgment

         The plaintiff’s arguments regarding CCS cite no caselaw, refer to no evidence, and are

somewhat confusing. (Pl’s Resp., pgs. 30-31).

          Nonetheless, to carry the day on her Sec. 1983 claim against CCS, the plaintiff must show

that a CCS policy, practice or custom was the “moving force behind the deprivation of [the

plaintiff’s] constitutional rights.” Johnson v. Cook, 526 F. App’x 692, 695 (7th Cir. 2013). Here,


3
 It is also important to note that the plaintiff’s evidentiary support for her argument that Ms. Frazier died from an
overdose is inadmissible. Ms. Feather admitted that it was her “speculation” that Ms. Frazier died from an overdose,
(Feather Dep., pg. 157), and Dr. Fowlkes’ Report is inadmissible hearsay. See infra, Section II. In addition, the Medical
Defendants previously moved to strike Ms. Feather’s supplemental expert reports. See Docs. #82, 99 and 115.


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the plaintiff is not even suggesting that the execution of a CCS policy or custom was somehow

involved in causing Ms. Frazier’s death by diphenhydramine toxicity.

         The plaintiff also claims, again without citing any evidentiary support, that CCS should

have some type of “check and balance” system in place and that CCS “failed to conduct appropriate

supervision of the defendants.” (Pl’s Resp., pg. 31).

         But, both of these assertions are classic examples of the plaintiff’s effort to impose

respondeat superior liability on CCS and, as the Seventh Circuit has previously held, a corporate

entity like CCS “cannot be held liable under Sec. 1983 on a respondeat superior theory.” Calhoun

v. Ramsey, 408 F.3d 375, 379 (7th Cir. 2005).

         CCS is also entitled to summary judgment on the plaintiff’s medical malpractice claim.4

The plaintiff does not dispute that under Illinois common law, if the Nurse-Defendants are not

liable, CCS is not liable. Gant v. L.U. Transport, 331 Ill. App. 3d 924, 929 (2002); Thompson v.

Northeast Illinois Regional RR, 367 Ill. App. 3d 373, 376 (2006).

         That being the case, since both nursing experts, (Feather Dep., pg. 118, Zegar Dep., pg.

112, 120, and both nurses, Novak Aff., par. 14, Kemp. Aff., par. 6), have all testified under oath

that no breach of the standard of care was committed by the Nurse-Defendants, the Nurse-

Defendants are entitled to summary judgment and, as a necessary result, CCS is entitled to

summary judgment.

         Summary judgment should be awarded to CCS.




4
 In connection with the plaintiff’s negligence claim, the testimony of the plaintiff’s nursing expert could not be more
clear that she has “no complaints about any breach of the standard of care by the two nurses” who the plaintiff has
sued. (Feather Dep., pg. 118).

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                                                         VII.
                                                      Conclusion

          The parties agree that Ms. Frazier died from diphenhydramine contained in medications

that Ms. Feather secretly smuggled into the Jail and which she secretly ingested. The Medical

Defendants had no knowledge of Ms. Frazier’s propensity to ingest diphenhydramine or that she

ingested medication containing diphenhydramine while she was in the Jail.                 Under these

circumstances, and for all the reasons set forth in their initial motion, the Medical Defendants are

entitled to summary judgment.




                                                               Respectfully Submitted,

                                                               VOGT & O’KANE

                                                               By:_/s/ Robert P. Vogt__
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750-2074                                 RPV                             #6191112

                         UNITED STATES DISTRICT COURT
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                                URBANA DIVISION

JACQUELINE JONES ,                                  )
INDEPENDENT ADMINISTRATOR                           )
of the ESTATE of TOYA D. FRAZIER,                   )
DECEDENT,                                           )
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              Plaintiff,                            )
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              v.                                    )      Court No.: 16 cv 02364
                                                    )
SERGEANT ARNOLD MATHEWS;                            )
CECILE KEMP, LPN; BETH NOVAK, RN ;                  )
and CORRECT CARE SOLUTIONS, LLC;                    )
CHAMPAIGN COUNTY, ILLINOIS                          )
                                                    )
              Defendants.                           )

                                 CERTIFICATE OF SERVICE

I, Robert P. Vogt, certify that on July 3, 2019, I electronically filed The Medical Defendants’
Reply in Support of Their Motion for Summary Judgment, with the Clerk of the Court using
the CM/ECF system which will send notification of such filing(s) to the following:

   Brian Michael Smith             bsmith@heylroyster.com, urbecf@heylroyster.com
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                                                    Respectfully Submitted,

                                                    VOGT & O’KANE

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